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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
ECOPETROL S.A., and KOREA NATIONAL
OIL CORPORATION,                                14-CV-529 (JGK)

   Petitioners,                                 OPINION & ORDER

          - against –

OFFSHORE EXPLORATION AND PRODUCTION
LLC,

     Respondent.
────────────────────────────────────
JOHN G. KOELTL, District Judge:

    With an unsatisfied judgment against Respondent Offshore

Exploration and Production, LLC (“Offshore”), Petitioner

Ecopetrol S.A. (“Ecopetrol”) moves, by order to show cause, for

an order of contempt against Offshore and William M. Kallop,

Offshore’s principal. For the following reasons, the motion is

denied.



                                   I.

    The Court has already set forth the facts and the

procedural background of this case in its prior opinions, see

Ecopetrol S.A. v. Offshore Expl. & Prod. LLC, 46 F. Supp. 3d 327

(S.D.N.Y. 2014); Offshore Exploration & Prod. LLC v. Morgan

Stanley Private Bank, N.A., 986 F. Supp. 2d 308 (S.D.N.Y. 2013),

familiarity with which is assumed. The following facts are

included because of their relevance to this motion.

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    In 2009, Ecopetrol and Korea National Oil Corporation

(“KNOC,” collectively the “purchasers”) purchased Offshore

International Group, Inc. and its subsidiaries from Offshore.

One of those subsidiaries, Savia Peru S.A. (“Savia”), was then

facing Peruvian Value Added Tax (“VAT”) assessments of around

$75,000,000. Offshore, 46 F. Supp. 3d at 332, 335. The

purchasers, through Savia, paid that amount to the Peruvian

Government.

    The purchasers then sought in arbitration reimbursement

from Offshore for the VAT assessments that Savia had paid. On

April 16, 2013, the arbitrators issued an “Interim Award” in the

purchasers’ favor, ordering Offshore to reimburse the Ecopetrol

parties for the tax assessment by May 28, 2013. (Ware Aff. Ex.

C, Ex. D.) On December 1, 2013, the arbitrators issued a

“Supplemental Interim Award,” which required Offshore to make

the reimbursement to the purchasers from its own funds, rather

than from an escrow account (the “financial escrow account”)

that had been created as security for indemnification claims by

the purchasers against Offshore. (Ware Aff. Ex. D.) As of

January, 31, 2016, the amount remaining in the financial escrow

account was $102,359,191.02. (Pet’r’s Letter, ECF No. 111-5.)

The purchasers maintain that they have substantial claims

against Offshore in excess of the amount of that escrow account.



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    On September 10, 2014, this Court confirmed the Interim

Award and the Supplemental Interim Award. See Offshore, 46 F.

Supp. 3d at 346. A Judgment (the “Judgment”) confirming the

awards was entered on September 12, 2014. (ECF No. 35.) The

Second Circuit Court of Appeals subsequently affirmed the

Judgment. Offshore Expl. & Prod., LLC v. Morgan Stanley Private

Bank, N.A., 626 F. App’x 303, 308 (2d Cir. 2015) (summary

order).

    On May 15, 2015, about eight months after the Judgment was

entered, Offshore received from Ecopetrol (1) a demand letter

requesting one half of the Supplemental Interim Award. (Orta

Decl. Ex. 1), (2) post-judgment interrogatories, (id. Ex. 10),

and (3) a request for documents in aid of judgment and

execution, (id. Ex. 11.) On May 29, 2015, Ecopetrol moved, by

order to show cause, for the Court to hold Offshore and Kallop

in civil contempt for their failure to comply with this Court’s

Judgment, entered in September, 2014.

    Also on May 29, 2015, an arbitration panel issued a Partial

Final Award that denied the purchasers’ last remaining claim

against Offshore concerning undisclosed environmental losses.

(Orta Decl. Ex. 4 at 96-97.) Pursuant to the First Amendment to

the Stock Purchase Agreement among Ecopetrol, Offshore, and

KNOC, Offshore had deposited $50,000,000 in a second escrow

account (the “supplemental escrow account”) to be applied to

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claims that resulted from undisclosed environmental losses.

(Orta Decl. Ex. 5.)

    In the same Partial Final Award, the arbitration panel

required the purchasers to return to Offshore the reimbursements

from the Peruvian Government for part of the VAT assessments.

(Orta Decl. Ex. 4 at 95-96, ECF No. 60) As of February 26, 2016,

the purchasers had received approximately $31 million in VAT

reimbursements. (Resp’t’s Letter, ECF No. 110-8.) In addition,

in August 2015, the purchasers accepted a payment of

approximately $23 million from the supplemental escrow account

to be split evenly between the purchasers. (Id.) The parties

disagree on the outstanding judgment balance, which Offshore

calculated to be $19,750,357 while the purchasers calculated to

be $35,572,728.65. (Compare id. with Pet’r’s Letter, ECF No.

111-5.) But there is no dispute that the original Judgment

balance has been significantly reduced by the VAT reimbursement

and the payment from the supplemental escrow account and that a

significant amount remains unpaid.

    On June 30, 2015, the Clerk of Court entered a certificate

of default against Kallop. (ECF No. 73.) On July 10, 2015,

Kallop moved to vacate the certificate of default. (ECF No. 86.)

On July 13, 2015, the Court granted the motion and vacated the

certificate of default. (ECF No. 87.) Kallop subsequently filed

opposition papers against Ecopetrol’s motion for contempt.

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                                  II.

                                   A.

     For its motion for contempt, Ecopetrol relies on Rule 70(e)

of the Federal Rule of Civil Procedure, which provides a remedy

of contempt if a party fails to comply with a judgment requiring

the performance of a specific act.1 Offshore objects that the

Judgment was not an equitable judgment covered by Rule 70(e) but

a judgment to pay money and that Ecopetrol’s remedy should be

limited to those provided by Federal Rule of Civil Procedure 69

which provides for remedies to enforce money judgments, in

particular execution.

     “Ordinarily, the equitable remedies provided under Rule 70

are not appropriate in enforcing a money judgment.” Spain v.

Mountanos, 690 F.2d 742, 744–5 (9th Cir. 1982); see also Combs

v. Ryan’s Coal Co., 785 F.2d 970, 980 (11th Cir. 1986);

Gabovitch v. Lundy, 584 F.2d 559 (1st Cir. 1978). While Rule

69(a) states that process to enforce a judgment for the payment

of money shall be a writ of execution, “unless the court directs


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  Ecopetrol also relies in its order to show cause on 18 U.S.C.
§ 401(3) which provides that a federal court has the power to
punish by contempt certain disobedience or resistance to its
orders. However, that statute is the authority for criminal
contempt and the remedy that Ecopetrol seeks here is civil
contempt to compel compliance with the Judgment. This provision
is therefore inapplicable in this case, and Ecopetrol
acknowledged at the argument of the motion that the citation was
incorrect.

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otherwise,” the otherwise clause should be read narrowly and

limited to situations where well established principles warrant

such use. Fed. R. Civ. P. 69(a); see Aetna Cas. & Sur. Co. v.

Markarian, 114 F.3d 346, 349 (1st Cir. 1997) (citations and

quotation marks omitted).

    The Judgment in this case confirmed an interim arbitral

award, which required Offshore to pay a sum certain to the

petitioners within 30 days of the issuance of the award, and a

supplemental award, which clarified that a payment from the

indemnification escrow account would not satisfy the interim

award. (Ware Aff. Ex. A, Ex. C., Ex. D.) “[T]he confirmation of

an arbitration award . . .     makes what is already a final

arbitration award a judgment of the court.” Florasynth, Inc. v.

Pickholz, 750 F.2d 171, 176 (2d Cir. 1984). The substance of the

award determines its proper characterization. See Jaffee v.

United States, 592 F.2d 712, 715 (3d Cir. 1979) (“A plaintiff

cannot transform a claim for damages into an equitable action by

asking for an injunction that orders the payment of money.”).

The issue then becomes whether the substance of the award is a

“money judgment” under Rule 69.

    In the context of Rule 69, the Tenth Circuit Court of

Appeals defined a money judgment as consisting of “two elements:

(1) an identification of the parties for and against whom

judgment is being entered, and (2) a definite and certain

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designation of the amount which plaintiff is owed by defendant.”

Fox v. Nat’l Oilwell Varco, 602 F. App’x 449, 452 (10th Cir.

2015) (citing Ministry of Def. & Support for the Armed Forces of

the Islamic Republic of Iran v. Cubic Def. Sys., Inc., 665 F.3d

1091, 1101 (9th Cir. 2011) (emphasis and internal quotation

marks omitted)); see also Cubic, 665 F.3d at 1101 (defining the

term “money judgment” for purposes of § 1961(a)); Penn Terra

Ltd. v. Dep’t of Envtl. Res., 733 F.2d 267, 275 (3d Cir. 1984)

(defining the term “money judgment” for purposes of former

Bankruptcy Code § 362(b)(5)).

    It is plain that the Judgment in this case consists of

these two elements. It clearly and unambiguously entered

judgment for the purchasers against Offshore. See Offshore, 46

F. Supp. 3d at 337. The judgment granted was the total VAT tax

paid by Savia that should have been paid by Offshore, which

amounted to approximately $75,308,179.03. Id. Ecopetrol does not

deny that the judgment in question consists of these two

elements, but argues unpersuasively that it nevertheless is an

equitable remedy enforceable by contempt.

    “Almost invariably . . . suits seeking (whether by

judgment, injunction, or declaration) to compel the defendant to

pay a sum of money to the plaintiff are suits for ‘money

damages,’ as that phrase has traditionally been applied, since

they seek no more than compensation for loss resulting from the

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defendant's breach of legal duty.” Great-West Life & Annuity

Ins. Co. v. Knudson, 534 U.S. 204, 210 (2002) (citations and

quotation marks omitted) (alteration in original). This is

particularly true when the claim arises under a contractual

obligation to pay money, which is “quintessentially an action at

law.” See Id. (citing Wal–Mart Stores, Inc. v. Wells, 213 F.3d

398, 401 (7th Cir. 2000)). The interim award in this case

enforced a provision of the Stock Purchase Agreement, and the

claim sought nothing more than to compel the payment of money.

The Judgment granting such a claim is a judgment for money

damages and therefore fits squarely within the dictionary

definition of a money judgment. See Black’s Law Dictionary (9th

ed. 2009) (defining a money judgment as “[a] judgment for

damages subject to immediate execution, as distinguished from

equitable or injunctive relief.”).

    Ecopetrol contends that because the judgment cannot be

satisfied with funds from the indemnification escrow account,

the judgment is an equitable decree. Contrary to Ecopetrol’s

contention, this requirement supports the conclusion that the

judgment is a money judgment. A monetary recovery might be

equitable, if it imposes “a constructive trust or equitable lien

on particular property,” or legal, if it imposes “personal

liability for the benefits that [the petitioners] conferred upon

respondents.” Knudson, 534 U.S. at 214 (emphasis added); see

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also Sereboff v. Mid Atl. Med. Servs., Inc., 547 U.S. 356, 362

(2006). In this case, Ecopetrol and its subsidiary advanced VAT

tax payments that under the Stock Purchase Agreement should have

been paid by Offshore. If Ecopetrol sought recovery of its VAT

payment by imposing a constructive trust or equitable lien on

the escrow account that was established for indemnification

purposes, then it may have been a closer question as to whether

a judgment granting such relief would fall within the definition

of a money judgment under Rule 69. However, by requesting that

Offshore pay the amount it was required to pay and not use the

specific asset of the escrow account, Ecopetrol was seeking a

money judgment.

    Ecopetrol also argues that the Judgment is not a money

judgment because it was not intended to provide compensation for

past injuries. It is true that an “important factor in

identifying a proceeding as one to enforce a money judgment is

whether the remedy would compensate for past wrongful acts

resulting in injuries already suffered, or protect against

potential future harm.” Penn Terra 733 F.2d at 276-77 (emphasis

in original). However, the Judgment grants reimbursement for

past payments, rather than protecting against potential

prospective harm. While Ecopetrol characterizes the arbitral

award as the provision of “collateral security for the VAT

claim,” (Ecopetrol’s Opp’n at 7, ECF No. 67,) the arbitral panel

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characterized the relief sought by Ecopetrol as “an Order of

Specific Performance obliging [Offshore] to reimburse Ecopetrol

for certain [VAT payments] that [Savia] . . . was compelled to

pay . . . for the years 2002 through 2007.” (Ware Aff. Ex. C at

1.) The relief granted is therefore to compensate for past

injuries which occurred between 2002 and 2007, and the payment

of money suffices to satisfy the judgment. Cf. Penn Terra, 733

F.2d at 278. Ecopetrol’s reliance on Constr. Tech., Inc. v.

Cybermation, Inc., 965 F. Supp. 416 (S.D.N.Y. 1997) is therefore

misplaced, because that case imposed a contempt sanction for the

violation of the court’s injunctive order to make payments into

an escrow account.

    Ecopetrol also contends that the Judgment is not a money

judgment because it contains personal commands for performance

of an act within a specified time period. Although it is true

that a personal command may usually be enforced by contempt, a

personal command to render payments may nevertheless fall within

the meaning of a “money judgment” under Rule 69. See, e.g.,

Indus. Prof’l & Tech. Workers Int'l Union, SIUNA, AFL-CIO v.

Worldtec Grp. Int'l, 25 F. App’x 527, 529 (9th Cir. 2001)

(unpublished); Jou v. Adalian, No. CIV. 09-00226 (JMS), 2015 WL

477268, at *5 (D. Haw. Feb. 5, 2015) (holding contempt

proceeding inappropriate to enforce the trial court’s order

requiring payment of a sum certain within seven days).

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    In cases where contempt is appropriately imposed for the

violation of courts’ orders to render payment, the reliefs are

usually the kinds that are traditionally available in equity,

see, e.g., Tauro v. Allegheny Cty., 371 F. App’x 345, 348 (3d

Cir. 2010) (per curiam) (child support); Donovan v. Sovereign

Sec., Ltd., 726 F.2d 55 (2d Cir. 1984) (back pay pursuant to

section 17 of the Fair Labor Standards Act); S.E.C. v. Zubkis,

No. 97-CV-8086 (JGK), 2003 WL 22118978, at *7 (S.D.N.Y. Sept.

11, 2003) (disgorgement), or those arising under a statutory

scheme that implements an important national policy, see, e.g.,

Pierce v. Vision Investments, Inc., 779 F.2d 302, 308 (5th Cir.

1986) (Interstate Land Sales Full Disclosure Act); Donovan v.

Mazzola, 716 F.2d 1226, 1239 & n. 9 (9th Cir. 1983) (Employee

Retirement Income Security Act); Hodgson v. Hotard, 436 F.2d

1110, 1114 (5th Cir. 1971) (Fair Labor Standards Act), or the

court’s sanctions for misconduct. See, e.g., Cleveland Hair

Clinic, Inc. v. Puig, 106 F.3d 165, 166 (7th Cir. 1997); SD

Prot., Inc. v. Del Rio, 587 F. Supp. 2d 429, 434–36 (E.D.N.Y.

2008). The Judgment in this case, enforcing an arbitral award

assessing damages for a breach of contract claim between private

parties, cannot fit in any of these categories, and is no more

than an ordinary money judgment under Rule 69.

    Because the Judgment in this case is an ordinary money

judgment, and because contempt power should not be used to

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enforce a money judgment, Ecopetrol’s motions against Offshore

and Kallop should be denied for this reason alone. See Fed. R.

Civ. P. 69(a)(1); Markarian, 114 F.3d at 349-50.



                                   B.

    In addition, the Court, in the exercise of its discretion,

would decline to issue a finding of contempt against Offshore at

this time. Civil contempt is a “potent weapon,” which courts

should not employ “where there is a fair ground of doubt as to

the wrongfulness of the defendant’s conduct.”        King v. Allied

Vision, 65 F.3d 1051, 1058 (2d Cir. 1995) (internal quotation

marks omitted). The decision as to whether civil contempt

sanctions should issue is within the Court’s discretion. Perez

v. Danbury Hosp., 347 F.3d 419, 423 (2d Cir. 2003). Even with

this discretion, a “district court's contempt power is narrowly

circumscribed,” id., and “the court must not lightly invoke its

contempt power.” In re Att’y Gen. of U. S., 596 F.2d 58, 65 (2d

Cir. 1979).

    “A court’s inherent power to hold a party in civil contempt

may be exercised only when (1) the order the party allegedly

failed to comply with is clear and unambiguous, (2) the proof of

noncompliance is clear and convincing, and (3) the party has not

diligently attempted in a reasonable manner to comply.”          N.Y.



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State Nat. Org. for Women v. Terry, 886 F.2d 1339, 1351 (2d Cir.

1989).

    Here, the Court’s judgment confirming the arbitration

awards that required payment by Offshore to the purchasers is

clear and unambiguous, and equally clear is the fact that more

than one year after the judgment, Ecopetrol still had not

received from Offshore the payment required by the court’s

judgment. However, discretion would indicate that civil contempt

sanctions should not issue. Ecopetrol should be able to enforce

the judgment through execution on the Judgment — and Ecopetrol

has made no effort to show that such efforts would be

ineffective. Indeed, Ecopetrol waited eight months – from

September 2014 to May 2015 – to begin discovery in aid of

execution and filed an Order to Show Cause for Contempt that

very same month. After the contempt motion was fully briefed,

Ecopetrol sent a letter demanding full payment of the Judgment

on October 28, 2015. (ECF No. 111-5.) Since then, for another

five months, the petitioner has made no efforts to execute on

the Judgment with the tools and remedies provided for execution.

Ecopetrol has provided no reasonable explanation for its

inaction. At the argument of the current motion, Ecopetrol

explained that it had not pursued execution because creditors’

remedies are “expensive and complicated.” Plainly, Ecopetrol has

not pursued the lawful remedies available to it and the potent

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weapon of contempt should not be used just because Ecopetrol

feels that execution is too much trouble.

    Moreover, Offshore has made some efforts to comply with the

Judgment. Both parties appear to agree that, other than the

escrow accounts, Offshore’s assets are largely illiquid. (Tr. at

19, 22, ECF No. 88.) According to Offshore, the liquidation of

these assets “would not be easily accomplished, would require

considerable time, and would likely result in substantially

compromised valuation of the assets.” (Kallop Aff., ECF No. 85.)

Given its limited liquid assets, Offshore appears to have made

some reasonable efforts to comply with the Judgment. The parties

agree that the Judgment has been substantially reduced by

payments from the supplemental escrow account and from the VAT

reimbursements.

    In the exercise of discretion, the Court would decline to

impose civil contempt sanctions at this time.



                                   C.

    Ecopetrol seeks to hold Kallop, Offshore’s principal, in

contempt by making him responsible for Offshore’s failure to

comply with the Judgment. Ecopetrol relies on Rule 65(d)(2) of

the Federal Rule of Civil Procedure which provides that an

injunction binds not only the parties but also “the parties’

officers, agents, servants, employees, and attorneys,” who

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receive actual notice of the injunction. Fed. R. Civ. P.

65(d)(2)(B). Rule 65 applies to “injunctions and restraining

orders,” and more broadly, to an “equitable decree compelling

obedience under the threat of contempt.” Int’l Longshoremen’s

Ass’n v. Phila. Marine Trade Ass’n, 389 U.S. 64, 75-76 (1967). A

permanent injunction, through the automatic operation of Rule

65(d)(2), may bind a non-party who is in active concert or

participation with the parties. See, e.g., NML Capital, Ltd. V.

Republic of Argentina, 727 F.3d 230, 239 (2d Cir. 2013); Brock

v. Casey Truck Sales, Inc., 839 F.2d 872, 874 n.1 (2d Cir.

1988). However, as explained above, the Judgment in this case is

a money judgment under Rule 69 and is not an injunction

enforceable through contempt. Therefore, Ecopetrol cannot use

Rule 65 to create a remedy against Kallop.

    Ecopetrol also argues that Kallop should be held in

contempt for Offshore’s alleged preferential payment of certain

debts guaranteed by or associated with Kallop personally, and

for the alleged improper uses of Offshore’s assets by Kallop and

his family for personal purposes. (Ecopetrol’s Reply, ECF No.

98.) The theory is that Kallop has diverted funds away from

Offshore and thus prevented Offshore from complying with the

Court’s Judgment.

    Some courts have held that a corporate officer’s “attempts

to drain the corporate resources to avoid satisfying the court's

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order” may be punished by contempt. See Elec. Workers Pension

Trust Fund of Local Union # 58, IBEW v. Gary's Elec. Serv. Co.,

340 F.3d 373, 384 (6th Cir. 2003). However, this is only

relevant where the contemnor attempts to excuse noncompliance by

his inability to comply. Courts have held that bad faith

behavior by the corporate officer to induce the inability of the

corporation to comply would defeat the inability defense to

contempt, and the corporate officer, with his defense defeated,

may be held in contempt for his failure to direct his

corporation’s compliance with the original order. See, e.g.,

id.; Chicago Truck Drivers v. Bhd. Labor Leasing, 207 F.3d 500,

507-08 (8th Cir. 2000). However, the Judgment in this case is a

money judgment that is not enforceable by contempt, and there is

no need for Offshore to establish an inability defense. It is

therefore unnecessary to consider whether Kallop has caused this

alleged inability.

    Moreover, for the same reasons that the Court would not

exercise any discretion to hold Offshore in contempt for not

paying the Judgment, the Court would not hold Kallop in contempt

for not causing Offshore to pay the Judgment. Ecopetrol has

ample civil remedies to execute on the Judgment and to pursue

discovery to find Offshore’s assets and to execute on them.




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                               CONCLUSION

    The Court has considered all of the arguments raised by the

parties. To the extent not specifically addressed above, they

are either moot or without merit. For the foregoing reasons,

Ecopetrol’s motion, by order to show cause, to hold Offshore and

Kallop in contempt is denied. The Clerk is directed to close all

pending motions in this case.



SO ORDERED.

Dated:    New York, New York
          March 28, 2016                _____________/s/____________
                                               John G. Koeltl
                                        United States District Judge




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